Case 0:22-cv-61028-WPD Document ds AE FRtere¢ ON ESD BA GRP HRI 0A 2 1 Page 1 of 12
Filing # 149290829 E-Filed 05/10/2022 12:56:37 PM

IN THE CIRCUIT COURT OF 17TH
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

CASE NUMBER:

TAMMY WILLIAMS,
Plaintiff,
vs.
DOLGENCORP, LLC d/b/a DOLLAR GENERAL

Defendant.
/

 

SUMMONS
THE STATE OF FLORIDA:

To Each Sheriff of Said State:

YOU ARE HEREBY COMMANDED TO serve this summons and a copy of the
Complaint in the above styled case upon Defendant:

Defendant: DOLGENCORP, LLC d/b/a DOLLAR GENERAL
Registered Agent: CORPORATION SERVICE COMPANY
Address: 1201 HAYS STREET

TALLAHASSEE, FL 32301

Defendant is required to serve written defenses to the complaint or
petition on Plaintiff's attorney, to wit: EVAN R. KRAKOWER,
ESQUIRE, Attorney for Plaintiff, 10061 NW 1 Court, Plantation, FL
33324 (954) 474-4244, E-Service: EvanRKrakowerPA@yahoo.com within
(20) days after service of this summons on that Defendant,
exclusive of the day of service, and to file the original of the
defenses with the Clerk of this Court either before service on
Plaintiff's attorney or immediately thereafter. If the Defendant
fails to do so, a default will be entered against that Defendant
for the relief demanded in the complaint.

DATED this MAY TI 2022 , 2022.

   

BRENDA FORMAN as Clerk of
said Court /
BY:

as Deputy Clerk
(Court Seal)

BRENDA D. FORMAN

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IN THE CIRCUIT COURT OF 17TH
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

CASE NUMBER:

TAMMY WILLIAMS,
Plaintiff,
vs.
DOLGEN CORP, LLC d/b/a DOLLAR GENERAL

Defendant.

 

COMPLAINT FOR DAMAGES

COMES NOW the Plaintiff, TAMMY WILLIAMS, by and through her

undersigned attorney and sues the Defendant, and allege as follows:
1) This is an action for damages in excess of $30,000.00.

2) At all times material hereto, Plaintiff, TAMMY WILLIAMS is
a resident and citizen of Broward County, Florida, and is over the
age of eighteen (18) years, and is otherwise sui juris.

3) At all times material hereto, Defendant, DOLGEN CORP, LLC
d/b/a DOLLAR GENERAL . is a corporation, duly authorized to do and
doing business in the State of Florida.

4) At all times material hereto, Defendant, DOLGEN CORP, LLC
d/b/a DOLLAR GENERAL owned, controlled, possessed, and maintained
the property located at 2300 W. Atlantic Blvd., Pompano Beach, FL

33069.

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5) At all times material hereto, Plaintiff, TAMMY WILLIAMS,
was rightfully on the premises as an invitee.

6) On or about the 26th day of January, 2019, the Plaintiff,
TAMMY WILLIAMS was at the DOLGEN CORP, LLC d/b/a DOLLAR GENERAL
located at the above address. At said time and place, the
Defendant, DOLGEN CORP, LLC d/b/a DOLLAR GENERAL . owed to the
general public and to the Plaintiff, TAMMY WILLIAMS, in
particular, the duty of keeping its premises in a reasonably safe
condition so that persons such as Plaintiff, TAMMY WILLIAMS,
would not be injured on said premises.

7) The Defendant, DOLGEN CORP, LLC d/b/a DOLLAR GENERAL
breached its duty to the Plaintiff in the that the Defendant, its
employees, servants or agents, while acting in the course and
scope of their employment, created and/or allowed to be created a
dangerous and defective condition, to wit; improperly stored
stock crates, which caused the Plaintiff, TAMMY WILLIAMS, to trip
and fall, thereby injuring herself.

8) The Defendant, DOLGEN CORP, LLC d/b/a DOLLAR GENERAL knew or
should have known of said dangerous and defective condition; and
failed to warn the general public, or the Plaintiff, TAMMY
WILLIAMS, in particular, of any danger or, in the alternative,
the Defendant allowed said dangerous and defective condition to
exist for a length of time sufficient in which a reasonable

inspection would have disclosed such condition.

 
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9) As a direct and proximate result of the aforesaid
negligence of Defendant, DOLGEN CORP, LLC d/b/a DOLLAR GENERAL
Plaintiff, TAMMY WILLIAMS, was injured in and about her body and
extremities, suffered pain and mental anguish therefrom, was
required to and did receive medical care, treatment, and related
expenses aS a result of her injuries, suffered great pain and
will continue permanently to suffer great pain, and has suffered
and sustained permanent injury within a reasonable degree of
medical probability and/or aggravated a pre-existing injury or
condition thereto; and said injuries are either permanent or
continuing in their nature, that her working ability was impaired
and she suffered a resultant loss of earnings, and will suffer
such losses and impairments in the future, as well as conditions
not yet diagnosed; that all of said injuries were caused solely
by the negligence and carelessness of the Defendant herein.

WHEREFORE, Plaintiff demands judgment for compensatory
damages, costs against the Defendant and a trial by jury of all

issues triable in this cause.

 
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DATED this

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day of , 2022.

EVAN R. KRAKOWER, P.A.

Attorneys for the Plaintiff

10061 NW 1 Court

Plantation, FL 33324

PHONE: (954) 474-4244

FAX: (954) 474-4245

E-service: EvanRKrakowerPA@yahoo.com

By: /s/ Evan R, Krakower
EVAN R. KRAKOWER, ESQ

FL BAR NO: 312894

By: /s/ David A. Tabb
DAVID A. TABB, ESQ

FL BAR NO: 67385

 
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FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing
and service of pleadings or other documents as required by law. This form must be filed by the
plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
to section 25.075, Florida Statutes. (See instructions for completion.)

 

1. CASE STYLE

IN THE CIRCUIT/COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
IN AND FOR BROWARD COUNTY, FLORIDA

Tammy Williams

 

Plaintiff Case #
Judge
vs.
Dolgencorp, LLC d/b/a Dollar General
Defendant

 

II. AMOUNT OF CLAIM
Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
the claim is requested for data collection and clerical processing purposes only. The amount of the claim
shall not be used for any other purpose.

L] $8,000 or less

L] $8,001 - $30,000
L] $30,001- $50,000
$50,001- $75,000
L] $75,001 - $100,000
L] over $100,000.00

TW. TYPE OF CASE (if the case fits more than one type of case, select the most
definitive category.) If the most descriptive label is a subcategory (is indented under a broader
category), place an x on both the main category and subcategory lines.

-l-

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CIRCUIT CIVIL

O Condominium
O Contracts and indebtedness
Oj Eminent domain
O Auto negligence
Negligence—other
O Business governance
CO Business torts
0 Environmental/Toxic tort
O Third party indemnification
O Construction defect
OC Mass tort
O Negligent security
O Nursing home negligence
Premises liability—commercial
O Premises liability—residential
O Products liability
ZC Real Property/Mortgage foreclosure
X Commercial foreclosure
XC Homestead residential foreclosure
XC Non-homestead residential foreclosure
UO Other real property actions

[]Professional malpractice
O Malpractice—business
O Malpractice—medical
O Malpractice—other professional
O Other
O Antitrust/Trade regulation
O Business transactions
O Constitutional challenge—statute or ordinance
O Constitutional challenge—proposed amendment
O Corporate trusts
O Discrimination—employment or other
CO Insurance claims
OC Intellectual property
O Libel/Slander
O Shareholder derivative action
O Securities litigation
O Trade secrets
O Trust litigation

COUNTY CIVIL

C1 Small Claims up to $8,000
0 Civil
L] Real property/Mortgage foreclosure
Case 0:22-cv-61028-WPD Document 1-1 Entered on FLSD Docket 05/31/2022 Page 8 of 12

LI Replevins

L] Evictions

L] Residential Evictions

L] Non-residential Evictions
C1 Other civil (non-monetary)

COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes LJ No

IV. REMEDIES SOUGHT (check all that apply):
& Monetary;
C1 Nonmonetary declaratory or injunctive relief;
LO Punitive
V. NUMBER OF CAUSES OF ACTION: [ ]
(Specify)
1
VI. IS THIS CASE A CLASS ACTION LAWSUIT?
LC] yes
XI no
Vil. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
XI no
LO yes If “yes,” list all related cases by name, case number, and court.
VU. IS JURY TRIAL DEMANDED IN COMPLAINT?
XI yes
LC) no
IX. DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?

CL) yes
Xl no

I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
my knowledge and belief, and that I have read and will comply with the requirements of
Florida Rule of Judicial Administration 2.425.

Signature: s/ Evan R Krakower Fla. Bar # 312894
Attorney or party (Bar # if attorney)
Evan R Krakower 05/10/2022
(type or print name) Date

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Case 0:22-cv-61028-WPD Document 1-1 Entered on FLSD Docket 05/31/2022 Page 9 of 12
Filing # 150081242 E-Filed 05/23/2022 10:25:02 AM

IN THE CIRCUIT COURT OF 17TH
JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA

CASE NUMBER: CACE-22-006759

TAMMY WILLIAMS,
Plaintiff,
vs.
DOLGENCORP, LLC d/b/a DOLLAR GENERAL

Defendant.

 

AMENDED COMPLAINT FOR DAMAGES
(as to location and date of incident only)

COMES NOW the Plaintiff, TAMMY WILLIAMS, by and through her
undersigned attorney and sues the Defendant, and allege as follows:
1) This ig an action for damages in excess of $30,000.00.

2) At all times material hereto, Plaintiff, TAMMY WILLIAMS is
a resident and citizen of Broward County, Florida, and is over the
age of eighteen (18) years, and is otherwise sui juris.

3) At all times material hereto, Defendant, DOLGENCORP, LLC
d/b/a DOLLAR GENERAL is a corporation, duly authorized to do and

doing business in the State of Florida.

4) At all times material hereto, Defendant, DOLGENCORP, LLC
d/b/a DOLLAR GENERAL owned, controlled, possessed, and maintained
the property located at Dollar General, 1000 Powerline Road,

Pompano Beach, FL 33069.

*#* FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 05/23/2022 10:25:02 AM.****

 
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5) At all times material hereto, Plaintiff, TAMMY WILLIAMS,
was rightfully on the premises as an invitee.

6) On or about the 6th day of April, 2021, the Plaintiff,
TAMMY WILLIAMS was at the DOLGENCORP, LLC d/b/a DOLLAR GENERAL
located at the above address. At said time and place, the
Defendant, DOLGENCORP, LLC d/b/a DOLLAR GENERAL . owed to the
general public and to the Plaintiff, TAMMY WILLIAMS, in
particular, the duty of keeping its premises in a reasonably safe
condition so that persons such as Plaintiff, TAMMY WILLIAMS,
would not be injured on said premises.

7) The Defendant, DOLGENCORP, LLC d/b/a DOLLAR GENERAL
breached its duty to the Plaintiff in the that the Defendant, its
employees, servants or agents, while acting in the course and
scope of their employment, created and/or allowed to be created a
dangerous and defective condition, to wit; improperly stored
stock crates, which caused the Plaintiff, TAMMY WILLIAMS, to trip
and fall, thereby injuring herself.

8) The Defendant, DOLGENCORP, LLC @/b/a DOLLAR GENERAL knew or
should have known of said dangerous and defective condition; and
failed to warn the general public, or the Plaintiff, TAMMY
WILLIAMS, in particular, of any danger or, in the alternative,
the Defendant allowed said dangerous and defective condition to
exist for a length of time sufficient in which a reasonable

inspection would have disclosed such condition.

 
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9) As a direct and proximate result of the aforesaid
negligence of Defendant, DOLGENCORP, LLC d/b/a DOLLAR GENERAL
Plaintiff, TAMMY WILLIAMS, was injured in and about her body and
extremities, suffered pain and mental anguish therefrom, was
required to and did receive medical care, treatment, and related
expenses as a result of her injuries, suffered great pain and
will continue permanently to suffer great pain, and has suffered
and sustained permanent injury within a reasonable degree of
medical probability and/or aggravated a pre-existing injury or
condition thereto; and said injuries are either permanent or
continuing in their nature, that her working ability was impaired
and she suffered a resultant loss of earnings, and will suffer
such losses and impairments in the future, as well as conditions
not yet diagnosed; that all of said injuries were caused solely
by the negligence and carelessness of the Defendant herein.

WHEREFORE, Plaintiff demands judgment for compensatory
damages, costs against the Defendant and a trial by jury of all

issues triable in this cause.

 
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DATED this 23 day of _ May , 2022.

EVAN R. KRAKOWER, P.A.

Attorneys for the Plaintiff

10061 NW 1 Court

Plantation, FL 33324

PHONE: (954) 474-4244

FAX: (954) 474-4245

E-service: EvanRKrakowerPA@yahoo.com

By:_/s/ Evan R. Krakower
EVAN R. KRAKOWER, ESQ
FL BAR NO: 312894

By: /s/ David A. Tabb
DAVID A. TABB, ESQ
FL BAR NO: 67385

 
